Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 1 of 10 Pageid#:
                                  22969



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


   ELIZABETH SINES, et al.,

                       Plaintiffs,
   v.
                                                          Civil Action No. 3: 17-cv-00072-NKM
   JASON KESSLER, et al.,
                                                          JURY TRIAL REQUESTED
                      Defendants.


    PLAINTIFFS’ DEPOSITION DESIGNATIONS OF DEFENDANT ELLIOT KLINE

         Plaintiffs, by and through their counsel, respectfully submit these deposition designations

 of Defendant Elliot Kline’s deposition taken on August 12, 2020. Plaintiffs did not previously

 file deposition designations for Mr. Kline because he was expected to testify at trial. Given that

 Mr. Kline has not appeared at trial or indicated any willingness to do so, Plaintiffs now plan to

 present his testimony by deposition.

         Plaintiffs continue to reserve the right to: (a) use audio and/or video deposition excerpts

 and/or create demonstrative exhibits; (b) use any deposition designations listed by Defendants;

 (c) supplement these designations with those of any persons listed as trial witnesses by any party

 in the event that such witnesses are not available to testify at trial or are not called at trial; (d)

 designate additional portions of deposition transcripts for the purpose of authentication of

 documents, if required; (e) designate any deposition testimony taken after the date of these

 designations; and (f) use any and all deposition and/or trial testimony, whether or not designated,

 for cross-examination, impeachment, or rebuttal purposes.
Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 2 of 10 Pageid#:
                                  22970



  Deposition Transcript:          Designations:
  Elliot Kline, August 12, 2020   6:03 - 6:05
                                  24:14 - 24:19
                                  25:05 - 25:09
                                  25:22 - 27:18
                                  30:07 - 30:21
                                  31:04 - 31:09
                                  31:19 - 32:17
                                  33:14 - 33:25
                                  37:18 - 37:24
                                  38:12 - 38:15
                                  38:17 - 40:03
                                  42:08 - 42:24
                                  44:09 - 44:11
                                  44:15 - 44:25
                                  45:06 - 45:15
                                  47:09 - 48:03
                                  48:08 - 49:08
                                  51:02 - 51:12
                                  52:06 - 52:14
                                  53:07 - 54:09
                                  56:05 - 57:12
                                  62:16 - 62:25
                                  63:08 - 64:03
                                  67:02 - 67:10
                                  68:03 - 68:19
                                  68:23 - 69:14
                                  69:24 - 70:24
                                  71:05 - 71:18
                                  73:03 - 73:24
                                  74:04 - 74:14
                                  81:10 - 82:18
                                  82:24 - 84:02
                                  90:02 - 90:05
                                  90:07 - 90:18
                                  91:03 - 91:17
                                  95:16 - 95:20
                                  96:18 - 97:07
                                  99:16 - 99:25
                                  100:18 - 101:10
                                  108:20 - 110:17
                                  114:09 - 114:12
                                  114:19 - 115:09
                                  115:17 - 115:23
                                  116:14 - 116:23
                                  117:03 - 117:06



                                      2
Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 3 of 10 Pageid#:
                                  22971



                                  122:10 - 122:17
                                  127:16 - 127:19
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                                  136:23 - 137:02
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                                      3
Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 4 of 10 Pageid#:
                                  22972



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                                  231:02 - 231:04
                                  231:07 - 231:09
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                                  248:12 - 249:03
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                                  257:02 - 257:11
                                  258:03 - 258:24
                                  261:16 - 262:02
                                  263:15 - 264:09
                                  267:25 - 268:02
                                  268:06 - 269:11
                                  270:25 - 271:20
                                  272:05 - 272:15
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                                  273:24 - 274:24
                                  275:15 - 275:18
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                                  277:11 - 278:24
                                  281:07 - 281:23
                                  284:22 - 284:25
                                  286:02 - 286:05
                                  287:12 - 287:18
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                                  296:23 - 298:02



                                      4
Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 5 of 10 Pageid#:
                                  22973



                                  298:07 - 299:25
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                                  334:21 - 336:16
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                                  346:11 - 346:22
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                                      5
Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 6 of 10 Pageid#:
                                  22974



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                                  420:23 - 421:09
                                  423:13 - 424:06
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                                  428:22 - 429:13
                                  430:10 - 430:15
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                                  454:14 - 456:13


 Dated: November 1, 2021                  Respectfully submitted,

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                                          Caitlin B. Munley (pro hac vice)
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                                      6
Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 7 of 10 Pageid#:
                                  22975



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                                       7
Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 8 of 10 Pageid#:
                                  22976



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                                          8
Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 9 of 10 Pageid#:
                                  22977



                                      CERTIFICATE OF SERVICE

        I hereby certify that on November 1, 2021, I filed the foregoing with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

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         I hereby certify that on November 1, 2021, I also served the foregoing upon following
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                                                        9
Case 3:17-cv-00072-NKM-JCH Document 1381 Filed 11/01/21 Page 10 of 10 Pageid#:
                                  22978




         I hereby certify that on November 1, 2021, I also served the foregoing upon following
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                                                     /s/ David E. Mills
                                                     David E. Mills (pro hac vice)




                                                10
